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                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF INDIANA
                                     FORT WAYNE DIVISION

 IN RE:                                                 )
                                                        )
 AUBURN FOUNDRY, INC.                                   )   CASE NO. 04-10427-reg-11
                                Debtor                  )


                MOTION FOR RELIEF FROM STAY AND FOR ABANDONMENT

        Comes now NMHG Financial Services, Inc. ("Creditor"), by counsel, and in support of its Motion,

respectfully shows the Court as follows:
        1.      On or about February 8, 2004, Auburn Foundry, Inc. ("Debtor") filed a Voluntary Petition for

Relief under Chapter 11 of Title 11 of the United States Code.
        2.      On or about May 8, 2001, Debtor executed a lease, Lease No. 4120494 (the "Lease"), of

various equipment to KMH Systems, Inc. ("KMH"). The leased equipment (“Equipment”) is as follows:


                                Schedule No. 4120494-001
                   Forklift                     S/N: A875B14669Y
                   Forklift                     S/N: A875B14568Y
                   Forklift                     S/N: A875B14670Y
                   Forklift                     S/N: A875B14652Y
                   Forklift                     S/N: A875B14659Y
                   Forklift                     S/N: A875B14671Y
                   Forklift                     S/N: A875B14662Y

                                 Schedule No. 4120494-002
                   Forklift                     S/N: C813V01533Y

                                 Schedule No. 4120494-003
                   Forklift                     S/N: A875B18339Z
                   Forklift                     S/N: A875B18354Z
                   Forklift                     S/N: A875B18297Z
                   Forklift                     S/N: A875B18336Z
                   Forklift                     S/N: A875B18343Z
                   Forklift                     S/N: A875B18353Z

                                  Schedule No. 4120494-004
                   Forklift                      S/N: A875B18517Z

                                  Schedule No. 4120494-005
                   Forklift                     S/N: C813V02156Z

                                  Schedule No. 4120494-006
                   Forklift                      S/N: E108V17571Z

                                  Schedule No. 4120494-007
                   Forklift                     S/N: E108V17580Z
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                                     Schedule No. 4120494-008
                    Forklift                       S/N: E108V17577Z

                                     Schedule No. 4120494-009
                    Forklift                       S/N: E108V17567Z
                    Forklift                       S/N: E108V17578Z
                    Forklift                       S/N: E108V17582Z
                    Forklift                       S/N: E108V17579Z

True, exact and authentic copies of the Lease and schedules are attached hereto as Exhibit "A."

          3.     KMH assigned the Lease to Creditor on May 8, 2001. A true, exact and authentic copy of

the Assignment of Lease is attached hereto and marked Exhibit "B."
          4.     Pursuant to 11 U.S.C. § 362(d)(2), Creditor is entitled to relief from the automatic stay on the

basis that, upon information and belief, the Debtor does not have any equity or ownership interest in the

Equipment and the Equipment is not necessary for an effective reorganization.
          5.     Further, the Debtor has filed a motion to sell all of its assets at a sale scheduled for April 18,

2005, and requested a hearing on the motion on April 22, 2005, four (4) days after the sale.

          6.     The Equipment is burdensome to the estate or is of inconsequential value and benefit to the

estate.

          7.     Creditor further protected its interest in the Equipment by filing the appropriate UCC financing

statements with the Indiana Secretary of State.

          8.     Creditor further requests that the provisions of Bankruptcy Rule 4001(a)(3) not be applicable

to any order entered.
          WHEREFORE, NMHG Financial Services, Inc. prays that the Court lift the automatic stay, abandon

the Equipment and for all other relief just and proper in the premises.
                                                   Respectfully submitted,

                                                   RUBIN & LEVIN, P.C.


                                                   By:    /s/James T. Young
                                                             James T. Young
                                                           Attorney No. 13834-71




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                                        CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Motion for Relief from Stay and for Abandonment has

been served upon the following either by electronic mail or by first class United States mail, postage prepaid,

on April 7, 2005:

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